Case 1:21-cv-00368-CKK Document 11 Filed 11/23/21 Page 1 of 12

Sally Albright Ja Pre Persana
109RC Dagsworthy Street
Dewey Beach, DE 19971

TN THE UNITED STATES DISTRICT CGURT
FOR THE DISTRICT OF COLUMBIA

 

)
ALEXANDRA TARA MCCABE )
PLAINTIFF )
VS. ) CIVIL ACTION NO. 1:21-CV-00368
)
SALLY ALBRIGHT ) ANSWER FOR DAMAGES AND
JGHN DGE i. Aka @HGUSEIS BORGIA ) INJUNCTIVE RELIEF
JOHN DOE 2. Aka “KEVIN” )
JOHN DOE 3. Aka )
@REALKBIVEQUEENB )
JOHN DOE 4. Aka @LADYKAY2YOU )
JOHN DOES 5 TO 20 )
DEFENDANTS )

 

DEFENDANTS’ ANSWER TO PLAINTIFFS’ COMPLAINT

COMES NOW DEFENDANT, Sally Albright, in Pre Persona, and hereby answer

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the allegatians of Plaintiffs’ Comptaint as Fatlaws:

INTRODUCTION
1. Defendant denies the allegations contained in paragraph 1 of the Complaint.

2. Defendant denies the allegations contained in paragraph 2 of the Complaint.
Case 1:21-cv-00368-CKK Document 11 Filed 11/23/21 Page 2 of 12

THE PARTIES

Defendant denies the allegations contained in paragraph 3 of the Complaint.
Defendant denies the allegations contained in paragraph 4 of the Complaint.
Defeadant is without sufficicai information or knowledge at this time upon which to
form a belief as to the truth of the facts contain in paragraph 5, and, therefore, to
the extent they are material as to these defendants, proof thereof is demanded. Until
Proof has been made, Defendant denies this allegation.

Defendant is without sufficient information or knowledge at this time upon which to
form a belief as to the truth of the facts contain in paragraph 6, and, therefore, to
the extent they are materia! as to these defendants, proof thereof is demanded. Until
Proof has been made, Defendant denies ihis ailegation.

Defendant is without sufficient information or knowledge at this time upon which to
form a helief as to the truth of the facts contain in paragraph 7, and, therefore, to
the extent they are material as to these defendants, proof thereof is demanded. Until
Proof has been made, Defendant denies this allegation.

Defendant is without safficient information or knowledge ai this time upon which to
form a belief as to the truth of the facts contain in paragraph 8, and, therefore, to
the extent they are material as to these defendants, proof thereof is demanded. Until
Proof has been made, Defendant denies this allegation.

Defendant denies the allegations contained in paragraph 9 of the Complaint.

JURISDICTION, VENUE, AND FORUM
Case 1:21-cv-00368-CKK Document 11 Filed 11/23/21 Page 3 of 12

10. Defendant reserves on the issue of jurisdiction, venue and forum pending the
development of relevant information through discovery, investigation or at trial.
11. Defendant reserves on the issue of jurisdiction, venue and forum pending the

development of relevant information through discovery, investigation or at trial.

VICARIOUS LIABILITY ALLEGATIONS

12. Defendant denies the allegations contained in paragraph 12 of the Complaint.

13. Defendant is without sufficient information or knowledge at this time upon which to
form a belief as to the truth of the facts contain in paragraph 13, and, therefore, to
the extent they are material as to these defendants, proof thereof is demanded. Until
Proof has been made, Defendant denies this allegation.

14. Defendant is without sufficient information or knowledge at this time upon which to
form a belief as to the truth of the facts contain in paragraph 14, and, therefore, to
the extent they are material as to these defendants, proof thereof is demanded. Until

Proof has been made, Defendant denies this allegation.

FACTUAL ALLEGATIONS
15. Defendant denies the allegations contained in paragraph 15 of the Complaint.
16. Defendant denies the allegations contained in paragraph 16 of the Complaint.
17. Defendant denies the allegations contained in paragraph 17 of the Complaint.

18. Defendant denies the allegations contained in paragraph 18 of the Complaint.
Case 1:21-cv-00368-CKK Document 11 Filed 11/23/21 Page 4 of 12

£9, Defendant is without sufficient information or knowledge at this time upon which to
form a belief as to the truth of the facts contain in paragraph 19, and, therefore, to
the extent they are material as to these defendants, proof thereof is demanded. Until
Proof has been made, Defendant denies this aHegation.

20. Defendant is without sufficient information or knowledge at this time upon which to
form a belief as to the truth of the facts contain in paragraph 20, and, therefore, to
the extent they are material as to these defendants, proof thereof is demanded. Until
Proof has been made, Defendant denies this allegation.

21. Defendant is without sufficient information or knowledge at this time upon which to
form 2 belief as to the truth of the facts contain in paragraph 21, and, therefore, to
the extent they are material as to these defendants, proof thereof is demanded. Until
Proof has been made, Defendant denies this allegation.

22. Defendant is without sufficient information or Knowledge at this time upon which to
form a belief as to the truth of the facts contain in paragraph 22, and, therefore, to
the extent they are material as to these defendants, proof thereof is demanded. Until
Proof has been made, Defendant denies this allegation.

23. Defendant is without sufficient information or knowledge at this time upon which to
form a belief as to the truth of the facts contain in paragraph 23, and, therefore, to
the extent they are material as to these defendants, proof thereof is demanded. Until
Proof has been made, Defendant denies this allegation.

24. Defendant denies the allegations contained in paragraph 24 of the Complaint

25. Defendant denies the allegations contained in paragraph 25 of the Complaint
Case 1:21-cv-00368-CKK Document 11 Filed 11/23/21 Page 5 of 12

26. Defendant is without sufficient information or knowledge at this time upon which to
form a belief as to the truth of the facts contain in paragraph 26, and, therefore, to
the extent they are material as to these defendants, proof thereof is demanded. Until
Preof has been made, Defendant denies this allegation.

27. Defendant is without sufficient information or knowledge at this time upon which to
form a belief as te the truth of the facts contain in paragraph 27, and, therefore, to
the extent they are material as to these defendants, proof thereof is demanded. Until
Proof has been made, Defendant denies this allegation.

28. Defendant denies the allegations contained in paragraph 28 of the Compiaint

29, Pefendant is without sufficient information or knowledge at this time upon which to
form a belief as to the truth of the facts contain in paragraph 29, and, therefore, to
the extent they are material as to these defendants, proof thereof is demanded. Until
Proof has been made, Defendant denies this allegation.

30. Defendant denies the allegations contained in paragraph 30 of the Complaint

31. Defendant denies the allegations contained in paragraph 31 of the Complaint

32, Defendant is without sufficient information or knowledge at this time mpon which to
form a belief as to the truth of the facts contain in paragraph 32, and, therefore, to
the extent they are material as to these defendants, proof thereof is demanded. Until
Proof has been made, Defendani denies this allegation.

33. Defendant is without sufficient information or knowledge at this time upon which to
form a belief as to the truth of the facts contain in paragraph 33, and, therefore, to
the extent they are material as to these defendants, proof thereof is demanded. Until

Proof has been made, Defendant denies this allegation.
Case 1:21-cv-00368-CKK Document 11 Filed 11/23/21 Page 6 of 12

34. Defendant is withent sufficient information or knowledge at this time upon which to
form a belief as to the truth of the facts contain in paragraph 34, and, therefore, to
the extent they are material as to these defendants, proof thereof is demanded. Until
Proof has been made, Defendant denies this allegation.

35, Defendant denies the allegations contained in paragraph 35 of the Compiaint

COPYRIGHT INFRINGEMENTV TOLATION OF EXCLUSIVE RIGHT TO
REPRODUCE COPYRIGHTED MATERIAL
(Against Defendants Albright, John Does 1-20)

36. Defendant is without sufficient information or knowledge at this time upon which to
form a belief as to the truth of the facts contain in paragraph 36, and, thercfore, to
the extent they are material as to these defendants, proof thereof is demanded. Until
Proof has been made, Defendant denies this allegation.

37. Defendant is without sufficient information or knowledge at this time upon which to
form a belief as to the truth of the facts contain in paragraph 37, and, therefore, to
the extent they are material as to these defendants, proof thereof is demanded. Until
Proef has been made, Defendant denies this allegation.

38. Defendant is without sufficient information or knowledge at this time upon which to
form a belief as to the truth of the facts contain in paragraph 38, and, therefore, to
the extent they are material as to these defendants, proef thereof is demanded, Until
Proof has been made, Defendant denies this allegation.

39. Defendant is without sufficient information or knowledge at this time upon which to

form a belief as to the truth of the facts contain in paragraph 39, and, therefore, to

the extent they are material as to these defendants, proof thereof is demanded. Until
Case 1:21-cv-00368-CKK Document 11 Filed 11/23/21 Page 7 of 12

Proof has been made, Defendant denies this allegation.

40. Defendant denies the allegations contained in paragraph 40 of the Complaint

41. Defendant is without sufficient information or knowledge at this time upon which to
form a befief as to the truth of the facts contain in paragraph 41, and, therefore, to
the extent they are material as to these defendants, proof thereof is demanded. Until
Proof has been made, Defendant denies this allegation.

42, Defendant is without sufficient information or knowledge at this time upon which to
form a belief as to the truth of the facts contain in paragraph 42, and, therefore, to
the extent they are material as to these defendants, proof thereof is demanded. Until
Proof has been made, Defendant denies this allegation.

43. Defendant denies the allegations contained in paragraph 43 of the Complaint

44. Defendant denies the allegations contained in paragraph 44 of the Complaint

COUNT 2
COPYRIGHT INFRINGEMENT/VIOLATION OF EXCLUSIVE RIGHT OF
PUBLIC PERFORMANCE/RIGHT 'TO CREATE DERIVATIVE WORKS
(Against Ms. Albright, John Does 1 and 2)

45. Defendant denies the allegations contained in paragraph 45 of the Complaint

46. Defendant denies the allegations contained in paragraph 46 of the Complaint

47. Defendant denies the allegations contained in paragraph 47 of the Complaint

48. Defendant is without sufficient information or knowledge at this time upon which to
form a belief as te the truth of the facts contain in paragraph 48, and, therefore, to

the extent they are material as to these defendants, proof thereof is demanded. Until

Proof has been made, Defendant denies this allegation.
Case 1:21-cv-00368-CKK Document 11 Filed 11/23/21 Page 8 of 12

49. Defendant is without sufficient information er knowledge at this time upon which to
form a belief as to the truth of the facts contain in paragraph 49, and, therefore, to
the extent they are material as to these defendants, proof thereof is demanded. Until
Proof has been made, Defendant denies this allegation.

50. Defendant denies the allegations contained in paragraph 50 of the Complaint

51. Defendant denies the allegations contained in paragraph 51 of the Complaint

COUNT3
CONTRIBUTORY CORYRIGHT INFRINGEMENT
(Against All Defendants)

52. Defendaat is without sufficient infermation or knowledge at this time upon which to
form a belief as to the truth of the facts contain in paragraph 52, and, therefore, to
the extent they are material as to these defendants, proof thereof is demanded. Until
Proof has been made, Defendant denies this allegation

53. Defendant denies the allegations contained in paragraph 53 of the Complaint

54. Defendant is without sufficient information or knowledge at this time upon which to
forma a belief as to the truth of the facts contain in paragraph 54, and, therefore, to
the extent they are maieriai as io these defendanis, proof thereof is demanded. Until
Proof has been made, Defendant denies this allegation

55. Defendant is withant sufficient information or knowledge at this time npon which to
form a belief as to the truth of the facts contain in paragraph 55, and, therefore, to
the extent they are material as to these defendants, proof thereof is demanded. Until

Proof has been made, Defendant denies this allegation
Case 1:21-cv-00368-CKK Document 11 Filed 11/23/21 Page 9 of 12

AFFIRMATIVE DEFENSES

Defendanis make ithe following affirmative defenses with as much ceriainiy as

allowed prior to discovery.

FIRST AFFIRMATIVE DEFENSE
AS A FIRST SEPARATE AND DISTINCT AFFIRMATIVE DEFENSE, Defendant
is informed and believes, and thereon alleges, that the Complaint fails to state facts

sufficient to constitute a cause of action against said Defendant.

SECOND AFFIRMATIVE DEFENSE
AS A SECOND SEPARATE AND DISTINCT AFFIRMATIVE DEFENSE,

Defendant is informed and believes, and thereon alleges, that the Complaint is uncertain.
THIRD AFFIRMATIVE DEFENSE

AS A THIRD SEPARATE AND DISTINCT AFFIRMATIVE DEFENSE,
Defendant is informed and believes, and thereon alleges, that Plaintiff's damages, if any,
were proximately caused by Plaintiff's own fraud and/or misconduct and, therefore,

Plaintiff's claim is barred.
FOURTH AFFIRMATIVE DEFENSE

AS AN FOURTH SEPARATE AND DISTINCT AFFIRMATIVE DEFENSE,
Defendant is informed and believes, and thereon alleges, that Plaintiff failed to allege any
actual or proximate cause between the alleged acts or omissions of Defendant and

Plaintiff's alleged losses.
Case 1:21-cv-00368-CKK Document 11 Filed 11/23/21 Page 10 of 12

FLPTH AFFIRMATIVE DEFENSE

AS A FIFTH SEPARATE AND DISTINCT AFFIRMATIVE DEFENSE, Defendant
is informed and believes, and thereon alleges, that if any misrepresentations or omissions
were made, which Defendaat denies, cach such misrepreseniation or omission was not

material to the damages sought by the Plaintiffs.
SIXTH AFFIRMATIVE DEFENSE

AS A SEXTH SEPARATE AND DISTINCT AFFIRMATIVE DEFENSE, Defendant
is informed and believes, and thereon alleges, that Plaintiffs is estopped to now seek the

relief requested in the Complaint.
SEVENTH AFFIRMATIVE DEFENSE

AS A SEVENTH SEPARATE AND DISTINCT AFFIRMATIVE DEFENSE,
Defendant is informed and believes, and thereon alleges, that each of the causes of action

contained in the Complaint is barred by the doctrine of laches.

EIGHTH AFFIRMATIVE DEFENSE
AS A EIGHTH SEPARATE AND DISTINCT AFFIRMATIVE DEFENSE,
Defendant is informed and believes, and thereon alleges, that each of the canses of action

alleged by Plaintiff in the Complaint is barred by the doctrine of unclean hands.
NINTH AFFIRMATIVE DEFENSE

AS A NINFHR SEPARATE AND DISTINCT AFFIRMATIVE DEFENSE,
Defendant is informed and believes, and thereon alleges, that each of the causes of action

contained in the Complaint is barred by the doctrine of in pari delicto.
Case 1:21-cv-00368-CKK Document 11 Filed 11/23/21 Page 11 of 12

TENTH AFFIRMATIVE DEFENSE

AS A TENTH SEPARATE AND DISTINCT AFFIRMATIVE DEFENSE,
Defendant is informed and believes, and thereon alleges, that each of the causes of action
and all allegations alleged by Plaintiff ia the Complaint(though not admitted) would be
allowed under 17 U. S. Code Section 107 Limitation of exclusive rights under copyright;

and as such “fair use” pursuant to Federal Copyright Law.

PRAYER

WHEREFORE, Defendants pray for judgment herein as follows:

1. That Plaintiffs take nothing by way of its Complaint on file herein;

2. For all costs of suit and attorneys’ fees incurred by Defendant in the defense
of this suit;

3. Attorneys frees according to statute; and

4. For such other and further relief as the Court may deem just and proper

under the circumstances and/or according to proof.

pated: IU alah [av | By: Sp—

Sally Albright

Defendant in Pro Persona
Case 1:21-cv-00368-CKK Document 11 Filed 11/23/21 Page 12 of 12

CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing was mailed and sen
22nd day

of Nevember, 2021 ta:

Daniel Hornal

TALOS LAW

527 Lyle Lane

Bellingham, WA 98225
Email: daniel@taloslaw.com

 

 
